         Case 2:10-cr-00347-DAD Document 423 Filed 11/10/14 Page 1 of 2
                         UNITED STATES DISTRICT COURT
                        EASTERN DISTRICT OF CALIFORNIA


                                    MEMORANDUM




Honorable Morrison C. England, Jr.            RE: Navpreet Singh
Chief United States District Court Judge          Docket Number: 2:10CR00347-05
Sacramento, California                            PERMISSION TO TRAVEL
                                                  OUTSIDE THE COUNTRY




Your Honor:


Navpreet Singh is requesting permission to travel to India.       Mr. Singh is current with all
supervision obligations, and the probation officer recommends approval be granted.


Conviction and Sentencing Date: On March 14, 2014, Mr. Singh was sentenced for the offense
of 21 USC 846 and 841(a)(1) – Conspiracy to Distribute MDMA and BZP.


Sentence Imposed: Time served; 36 months Supervised Release; $100 Special Assessment.
Special Conditions:    Warrantless search, financial disclosure, correctional treatment, drug
testing, co-payment plan, drug offender registration, and cognitive behavioral treatment.


Dates and Mode of Travel: Mr. Singh will leave on November 16, 2014, on China Eastern
Airlines, Flight Number 590, and return on December 9, 2014, on China Eastern Airlines, Flight
Number 564.




                                                1
                                                                                       REV. 05/2013
                                                        TRAVEL ~ OUTSIDE COUNTRY_ COURT MEMO.DOTX
            Case 2:10-cr-00347-DAD Document 423 Filed 11/10/14 Page 2 of 2
RE:      Navpreet Singh
         Docket Number: 2:10CR00347-05
         PERMISSION TO TRAVEL OUTSIDE THE COUNTRY


Purpose: Mr. Singh will be getting married in India. He will be staying with relatives during
his stay.


                                        Respectfully submitted,

                                           /s/ Kris M. Miura

                                            Kris M. Miura
                                    United States Probation Officer


Dated:      November 3, 2014
            Elk Grove, California
            KMM/sda

                             /s/ Jack C. Roberson
 REVIEWED BY:                Jack C. Roberson
                             Supervising United States Probation Officer




                                    ORDER OF THE COURT

            ☒     Approved          ☐      Disapproved


Dated: November 6, 2014




                                                  2
                                                                                         REV. 09/2013
                                                          TRAVEL ~ OUTSIDE COUNTRY_ COURT MEMO.DOTX
